                             Case 9:16-bk-06562-FMD
Label Matrix for local noticing              Deere & CompanyDoc 25-1               Filed 06/26/19        Page
                                                                                                         Caryl E.1Delano
                                                                                                                   of 1
113A-9                                       PO Box 6600                                                  Tampa
Case 9:16-bk-06562-FMD                       Johnston, IA 50131-6600                                      , FL
Middle District of Florida
Ft. Myers
Wed Jun 26 10:40:32 EDT 2019
Elpidio Negrete                              John Deere Financial                                         Ocwen Loan Servicing, LLC.
6671 Pangola Drive                           P.O. Box 6600                                                P.O. Box 24738
Fort Myers, FL 33905-6815                    Johnston, IA 50131-6600                                      West Palm Beach, FL 33416-4738



Regions Bank                                         Robert E Tardif Jr.+                                 Robert E Tardif, Attorney for Trustee +
P.O. Box 11007                                       Trustee                                              Robert E. Tardif, Jr., P.A.
Birmingham, AL 35288-0001                            Post Office Box 2140                                 Post Office Box 2140
                                                     Fort Myers, FL 33902-2140                            Fort Myers, FL 33902-2140


United States Trustee - FTM7/13 +                    Juan J Mendoza +                                     Note: Entries with a ’+’ at the end of the
Timberlake Annex, Suite 1200                         Law Offices of Juan J. Mendoza, LLC                  name have an email address on file in CMECF
501 E Polk Street                                    27299 Riverview Center Blvd., Suite 102
Tampa, FL 33602-3949                                 Bonita Springs, FL 34134-4322




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